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                     UNITED STATES DISTRICT COURT
                FOR THE SOUTHERN DISTRICT OF NEW YORK

VIRGINIA L. GIUFFRE,

     Plaintiff / Counterclaim Defendant,

     v.                                    Case No. 19-cv-03377-LAP
                                           FILED UNDER SEAL
ALAN DERSHOWITZ,

     Defendant / Counterclaim Plaintiff.


        VIRGINIA L. GIUFFRE’S RESPONSE MEMORANDUM OF LAW
    IN OPPOSITION TO MOTION TO DISQUALIFY COOPER & KIRK PLLC
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                                        INTRODUCTION

       Defendant Alan Dershowitz (“Defendant”) sought to take a discovery shortcut by obtaining

from Plaintiff Virginia Giuffre (“Plaintiff”) a substantial volume of material produced or created

in Giuffre v. Maxwell, No. 15-cv-7433 (S.D.N.Y.) (“the Maxwell action”). The Court and Plaintiff

have sought to accommodate Defendant by granting him access to materials that mention him and

are thus most likely to be relevant to this action. Defendant is not satisfied with this solution. He

now seeks to “level the playing field” by imposing upon Plaintiff a devastating handicap:

disqualifying her counsel over a year after discovery has commenced. He does so not because he

believes Plaintiff’s counsel has engaged in the sort of intentionally wrongful conduct that typically

justifies disqualification in cases involving access to confidential information, but instead because

they have access to information that he wants but cannot get. Defendant’s request is unprecedented

and should be denied.

       In opposing Defendant’s motion, Plaintiff does not intend to diminish the gravity of the

Court’s earlier finding that Cooper & Kirk received materials to which it was not entitled under a

protective order entered in the Maxwell action. However, where counsel received those materials

in good faith and have not breached any right Defendant had in the protective order, there is no

basis for disqualification. And if Cooper & Kirk must be disqualified, Defendant’s chosen counsel,

Todd & Weld, must likewise be disqualified because Defendant has provided it with access to

large volumes of protected Maxwell materials, even though the firm is not entitled to access to the

Maxwell materials under the Court’s interpretation of the Maxwell protective order.

                                         BACKGROUND

       Plaintiff was the victim of sex trafficking and abuse by the late Jeffrey Epstein and his

associates. Am. Compl. ¶¶ 2, 5, Doc. 117 (Apr. 15, 2020). Defendant, Epstein’s attorney and close



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friend, was among the men with whom Epstein compelled Plaintiff to have sex. Id. ¶ 6. When

Plaintiff publicly accused Defendant of complicity in Epstein’s crimes in an action challenging a

non-prosecution agreement that Defendant negotiated on behalf of Epstein and his co-conspirators,

Defendant began a relentless smear campaign to discredit Plaintiff as a perjurer and extortionist.

Id. ¶¶ 10, 14. Plaintiff brings this action for sexual battery, defamation, and violations of the

Wiretap Act arising from secret recordings of one of Plaintiff’s attorneys. Id. ¶¶ 94–131.

       Plaintiff instituted this action in April 2019. At the time, she was represented by Boies

Schiller & Flexner LLP (“BSF”). BSF had previously represented Plaintiff in the Maxwell action,

in which Plaintiff brought defamation claims against Ghislaine Maxwell, another Epstein associate

who had accused Plaintiff of lying about Maxwell’s complicity in Epstein’s trafficking scheme.

       In its capacity as Plaintiff’s counsel in the Maxwell action, BSF not only possessed but was

intimately familiar with all documents and testimony produced, given, or filed in the Maxwell

action. Much of the material in BSF’s possession remained under seal or subject to a protective

order entered in that action. Order, Doc. 62 (Mar. 18, 2016), in Giuffre v. Maxwell, No. 15-cv-

7433 (S.D.N.Y.) (“Protective Order” or “Maxwell Protective Order”). As an associate of Maxwell

and Epstein, Defendant had intervened and been designated as a potential witness in the Maxwell

action. See Brown v. Maxwell, 929 F.3d 41, 46 (2d Cir. 2019); Declaration of Nicole Moss (“Moss

Decl.”) Ex. A. In his capacity as a potential witness, he signed a copy of the Maxwell Protective

Order and received copies of dozens of confidential and sealed Maxwell document productions,

testimony, filings, and other documents. Moss Decl. Exs. A, B. Under the terms of the Maxwell

Protective Order, and as relevant here, only parties to, attorneys actively working on, and potential

witnesses in the Maxwell action could access protected material, and neither BSF, Plaintiff, nor

Defendant are permitted to use that material in this action without leave of Court unless they



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independently obtain the material, through discovery in this action or otherwise. Protective Order

¶¶ 4, 5.

           On June 7, 2019, Defendant moved to disqualify BSF in this action under the advocate-

witness rule and on the ground that BSF had a conflict of interest because Defendant sought to

retain BSF in connection with Plaintiff’s accusations against him. Mem. of Law in Supp. of Mot.

to Disqualify, Doc. 8 (June 7, 2019). Notably, Defendant did not move to disqualify BSF on the

ground that its familiarity with material subject to the Maxwell Protective Order gave Plaintiff an

unfair advantage in this action. Id. Nor did any party to Maxwell raise concerns about BSF

representing Plaintiff in this action.

           On October 16, 2019, this Court disqualified BSF under the advocate-witness rule. Op. and

Order 30, Doc. 67 (Oct. 16, 2019). On the same day, the Court ordered the parties to submit a

proposed discovery plan no later than November 13, leaving just under one month for Plaintiff to

locate new counsel, and for new counsel to familiarize themselves with her claims and confer with

counsel for Defendant on a discovery plan. The Court later extended that deadline. Order, Doc. 91

(Nov. 15, 2019).

           Cooper & Kirk appeared on behalf of Plaintiff on October 31, 2019. See, e.g., Mot. for

Charles J. Cooper To Appear Pro Hac Vice, Doc. 76 (Oct. 31, 2019). Plaintiff retained Cooper &

Kirk to represent her not only in this action, but also in ongoing unsealing proceedings in the

Maxwell action. See Declaration of Charles J. Cooper ¶ 6, Doc. 149 (July 7, 2020) (“Cooper

Decl.”). Consequently, both BSF and Cooper & Kirk believed in good faith that Cooper & Kirk

was stepping into the shoes of BSF in this case and would be assisting BSF in Maxwell, and that

Cooper & Kirk was thus no less authorized than BSF to review confidential materials from the




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Maxwell action that were contained in Plaintiff’s case files at BSF and/or in Plaintiff’s custody.

Letter from Charles J. Cooper to the Hon. Loretta A. Preska at 1, Doc. 148 (July 7, 2020).

       Fortifying that conclusion, Cooper & Kirk entered this action subject to an order to confer

with counsel for Defendant about producing transcripts and exhibits from Plaintiff’s depositions

in the Maxwell action, even though those materials were and remain partially subject to the

Maxwell Protective Order. Cooper Decl. ¶¶ 4–5, 7. In connection with Defendant’s request for

copies of those transcripts, Cooper & Kirk disclosed on the record that it had access to those

transcripts and exhibits, and no one—including Maxwell, who weighed in on Defendant’s

request—objected. Id. ¶¶ 7–9, 14. Over the next several months, Cooper & Kirk continued to be

transparent about its access to confidential material from Maxwell, id. ¶¶ 16–26, but counsel for

Defendant did not “pick up on” the significance of Cooper & Kirk’s disclosures because “the issue

of where the documents resided was not the focus of the parties’ discussions,” Letter from Howard

Cooper to the Hon. Loretta A. Preska at 1, Doc. 150 (July 10, 2020).

       In June 2020, Defendant filed a letter seeking access to confidential materials from the

Maxwell action. First Letter Mot. for Local Rule 37.2 Conference, Doc. 133 (June 12, 2020). At a

telephonic hearing concerning that letter, Cooper & Kirk again confirmed that it had access to

confidential materials from the Maxwell action. Tr., Cooper Decl. Ex. K, at 9, Doc. 149-11 (July

7, 2020).

       On July 1, 2020, the Court issued an order denying Defendant’s request to access protected

material from the Maxwell action. Order, Doc. 144 (July 1, 2020) (“Destruction Order”). In the

same order, the Court held that Cooper & Kirk was not entitled to access confidential material

under the Maxwell Protective Order and ordered Cooper & Kirk to destroy all such material in its

possession, as well as any work product derived from that material. Id. Defendant immediately



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moved to stay the Destruction Order, for reconsideration, and for leave to move to disqualify

Cooper & Kirk. Letter Mot. To Stay, Doc. 146 (July 2, 2020). In response, Cooper & Kirk

explained why it believed in good faith that BSF was permitted to share with Cooper & Kirk

confidential materials under the Maxwell Protective Order, acknowledged that it would destroy

that material at the Court’s order, and opposed Defendant’s proposed disqualification motion.

Letter from Charles J. Cooper to the Hon. Loretta A. Preska, Doc. 148 (July 7, 2020).

       The Court stayed the Destruction Order and directed the parties to confer and develop a

proposal for a limited disclosure of protected material to Defendant. Order, Doc. 147 (dated July

3, 2020; filed July 6, 2020); Order, Doc. 152 (July 22, 2020). In the course of those discussions,

Cooper & Kirk shared an inventory of the confidential and sealed materials in its possession (only

a subset of all protected materials from the Maxwell action), but declined to disclose the identities

of confidential deposition witnesses who had not yet been revealed in public filings. Joint Status

Report Pursuant to ECF No. 152, Doc. 153 (July 29, 2020). The parties submitted a joint letter

requesting, among other things, leave to disclose the nature of any confidential material in their

respective possessions; Defendant further sought an order compelling Plaintiff to produce

specified material from the Maxwell action, which request Plaintiff did not oppose. Id. at 3.

       On September 9, 2020, after obtaining input from interested nonparties, the Court ordered

Plaintiff to produce to Defendant “all sealed materials and discovery that mentions Mr.

Dershowitz, excluding material produced by or material (or portions of material) discussing a

specific nonparty Doe whose privacy interests are the subject of a separate sealed order to be

provided to Ms. Giuffre.” Order at 7, Doc. 174 (Sept. 9, 2020). On October 27, 2020, Plaintiff

produced to Defendant excerpts of deposition and hearing transcripts, deposition exhibits, party

and non-party productions, other discovery materials, and sealed filings that were in Cooper &



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         Unsatisfied with the Court’s order requiring Plaintiff to produce specific Maxwell

materials, Defendant now moves to disqualify Cooper & Kirk, insisting that our access to

confidential and sealed Maxwell materials that do not mention Defendant gives us an unfair

advantage in this action. The Court should deny that motion.

                                          ARGUMENT

   I.       Defendant’s Motion Does Not Satisfy the High Bar for Disqualification.

         Motions to disqualify are “subject to particularly strict scrutiny.” Corpac v. Rubin &

Rothman, LLC, 920 F. Supp. 2d 345, 352 (E.D.N.Y. 2013). Disqualification interferes with a

party’s right to chosen counsel, is often sought “for tactical reasons,” and “inevitably cause[s]

delay.” Bd. of Educ. of City of New York v. Nyquist, 590 F.2d 1241, 1246 (2d Cir. 1979).

Accordingly, “[d]isqualification is appropriate only if the attorney’s misconduct ‘tends to taint the

underlying trial by affecting his or her presentation of the case.’ ” Tradewinds Airlines, Inc. v.

Soros, No. 08 CIV. 5901 (JFK), 2009 WL 1321695, at *4 (S.D.N.Y. May 12, 2009) (quoting

Nyquist, 590 F.2d at 1246) (emphasis added). Courts in this Circuit “have recognized only two

situations in which” that will be so: first “where the attorney or his firm concurrently represents

parties with adverse interests,” thereby “undermining” the ethical duty of “undivided loyalty”;

second “where the attorney is in a position to use in litigation against a former client relevant,

privileged information obtained during the prior representation,” which would violate the “duty to

protect client confidences.” Id. Outside these two ethical breaches, as Defendant’s own cited cases

acknowledge, disqualification is “rare[ly]” justified, id., even where other breaches are alleged.

See DeVittorio v. Hall, No. 07 CIV. 0812 (WCC), 2007 WL 4372872, at *11 (S.D.N.Y. Dec. 12,

2007); see also Butler v. Enter. Integration Corp., 459 F. Supp. 3d 78, 91 (D.D.C. 2020) (“Except

in cases of truly egregious misconduct likely to infect future proceedings, other means less



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prejudicial to the client’s interest than disqualifying the counsel of the Party’s choice are ordinarily

available.” (internal brackets omitted)).

       Defendant does not (and could not) argue that Cooper & Kirk has committed any

misconduct or breached any duties owed to him. Cooper & Kirk has never represented Defendant,

nor is it representing parties with adverse interests in this suit. Cooper & Kirk is thus in no possible

danger of breaching its duties of loyalty and confidentiality. Nor is this one of the rare cases where

the draconian measure of disqualification is otherwise justified. In every disqualification case

Defendant cites, the lawyer whose disqualification is sought allegedly breached some duty owed

to the movant—if not the duty of client confidentiality, then the duty under a protective order to

maintain the confidentiality of materials the movant had produced. See Tradewinds, 2009 WL

1321695, at **1–3; infra at 10. But Defendant, who was not a party in Maxwell and who produced

no discovery in Maxwell, is owed no duties under the Maxwell Protective Order. Cooper & Kirk’s

good faith, albeit erroneous, receipt of Maxwell materials to which the Court found it was not

entitled, therefore, violated no right that Defendant can claim.

       Instead, Defendant’s quarrel seems to be with the Court. See, e.g., Mem. in Supp. of Mot.

to Disqualify at 1, Doc. 204 (Nov. 18, 2020) (“Mem. in Supp.”) (“The bases for Professor

Dershowitz’s motion to disqualify . . . are the product of the Court’s various orders”); id. at 4

(alleging that “Professor Dershowitz has limited insight into the discovery conducted in the

Maxwell case as a result of . . . the Court’s orders”); id. at 8 (“[T]his Court has already denied

Professor Dershowitz’s efforts to obtain discovery”); id. at 13–14 (alleging prejudice from “the

Court’s seemingly narrow view of discovery”). For over a year after Plaintiff filed suit, Defendant

was unconcerned about the known fact that Plaintiff’s counsel had access to the Maxwell materials.




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Only after Defendant failed to obtain access to all of the Maxwell materials did he raise concerns

about Plaintiff’s counsel.

        Defendant’s sole complaint is that Cooper & Kirk had an opportunity to review materials

in its client’s possession, custody, and control that it may not turn over to him. But Cooper &

Kirk’s submission detailing its good-faith basis for taking possession of protected Maxwell

material remains uncontradicted, and indeed implicitly accepted, by Defendant. Letter from

Howard Cooper to the Hon. Loretta A. Preska, Doc. 150 (July 10, 2020). Honest mistakes of this

sort are not corrected through the extreme measure of disqualification. See, e.g., Kane v. Chobani,

Inc., No. 12-CV-02425-LHK, 2013 WL 3991107, at *8 (N.D. Cal. Aug. 2, 2013) (demanding a

showing that counsel “wrongfully acquired an unfair advantage that undermines the integrity of

the judicial process” (emphasis added)); Colandrea v. Town of Orangetown, 490 F. Supp. 2d 342,

352 (S.D.N.Y. 2007) (“Disqualification of an attorney is only appropriate where there has been a

clear violation of the Code of Professional Responsibility leading to a significant risk of trial taint.”

(internal quotation marks omitted)).

        Nor is it reasonable to conclude that Cooper & Kirk’s supposed advantage “taint[s] the

underlying trial,” Nyquist, 590 F.2d at 1246, given that it was an advantage that Plaintiff would

have enjoyed to far greater measure, without objection, had she continued to be represented by her

original counsel of choice, BSF. (The Court disqualified BSF, it is true, but not because of its

access to and familiarity with the Maxwell materials.) The only difference between Cooper & Kirk

and BSF—apart from the fact that the latter’s familiarity with the Maxwell materials far exceeds

the former’s both in scope and depth—is that the Court has held that Cooper & Kirk was not

entitled to access the Maxwell materials under the Maxwell Protective Order. But that does not




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somehow convert a perfectly fair advantage that Plaintiff enjoyed when represented by her original

counsel of choice into one that undermines the integrity of the trial.

       Defendant’s cited cases are not to the contrary. Mem. in Supp. 6–7. As mentioned, all can

be distinguished from this one because they involved an alleged breach of a duty owed to the

movant. Moreover, most involved an alleged breach of one of the two ethical duties described

above, specifically the situation in which plaintiff’s counsel has information from a prior

confidential relationship with defendant. See Med. Diagnostic Imaging, PLLC v. CareCore Nat’l,

LLC, 542 F. Supp. 2d 296, 315 (S.D.N.Y. 2008); DeVittorio, 2007 WL 4372872, at *8; Gen. Am.

Commc’ns Corps. v. Rumpf, No. 83 CIV. 2308 (CBM), 1989 WL 101926, at *2 (S.D.N.Y. Aug.

29, 1989). Even so, none hold disqualification necessary, and many squarely reject Defendant’s

own argument for disqualification. See Tradewinds, 2009 WL 1321695, at *8 (“The bare assertion

that plaintiff’s attorney has a tactical advantage in the litigation of the suit based on the knowledge

gained in the prior suit is unconvincing.” (cleaned up)); Hu-Friedy Mfg. Co. v. Gen. Elec. Co., No.

99 C 0762, 1999 WL 528545, at **1–2 (N.D. Ill. July 19, 1999) (finding “any unfair advantage or

head start” to be “merely speculative” where counsel “maintain[ed] that it used no confidential

information . . . to file this action” and could separately have pursued that information in

discovery).

       Defendant nevertheless contends that these cases denying disqualification support

disqualification here because the court in each case pointed out that the confidential information

at issue was discoverable, whereas Defendant has not yet been able to discover all of the Maxwell

material. Mem. in Supp. at 6–8. This is what comes of Defendant trying to wedge the square peg

of this case into the round hole of disqualification: in each case Defendant cites, disqualification

turned not on whether the movant would be able to obtain the confidential information through



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discovery, but instead on whether the respondent could have done so. See Med. Diagnostic

Imaging, PLLC, 542 F. Supp. 2d at 315; DeVittorio, 2007 WL 4372872, at *10; Gen. Am.

Commc’ns Corps., 1989 WL 101926, at *4; Tradewinds, 2009 WL 1321695, at *8; Hu-Friedy

Mfg. Co., 1999 WL 528545, at **2–3. Thus, the question in these cases was whether the attorney

with access to the confidential information could have obtained the same information through

discovery in the pending action. The answer to that question in this case, as in the cases Defendant

cites, is “yes”: we know the Maxwell materials are discoverable because they were obtained

through discovery in the Maxwell action.

         It is therefore beside the point that Defendant entertains doubts whether he will be able

perfectly to reconstruct the Maxwell record using the same traditional discovery tools the Maxwell

parties used. Defendant’s argument thus reduces to this: Defendant believes certain elements of

the Maxwell record will remain beyond his reach because they concern subject matter this Court

has deemed to be irrelevant to this action. Mem. in Supp. at 13. In other words, Defendant asks

the Court to disqualify Plaintiff’s counsel on the ground that counsel has gained access, in good

faith and without violating any duty to Defendant, to material the Court believes to be irrelevant

to this action. Needless to say, this is not the sort of argument that distinguishes this case as a

“rare” one in which disqualification is merited though no ethical breach has occurred. Nyquist, 590

F.2d at 1246.

   II.      Fairness Considerations Militate Strongly Against Disqualification.

         Unable to satisfy the traditional standard for disqualification, Defendant resorts to

generalized considerations of fairness and due process. Mem. in Supp. at 8–12. But these

considerations actually weigh strongly against disqualification.




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       A. Disqualification Would Severely Disadvantage Plaintiff.

       Plaintiff has already endured the burden of having her counsel of choice disqualified once.

Fortunately, however, that disqualification occurred before discovery commenced, and Plaintiff

was able to engage replacement counsel in relatively short order. Plaintiff will face a severe and

unnecessary burden if her replacement counsel is disqualified now, over a year after the

commencement of discovery.

       First, disqualification is disruptive under any circumstances. See, e.g., Nyquist, 590 F.2d at

1246; In re Corp. Res. Servs., Inc., 595 B.R. 434, 447 (S.D.N.Y. 2019) (holding that bankruptcy

court abused its discretion in disqualifying counsel where new counsel “would have to familiarize

themselves with the extensive discovery in this case and formulate their own trial strategy” and

“appreciable time and money would be spent” in the process (quoting Murray v. Metro. Life Ins.

Co., 583 F.3d 173, 180 (2d Cir. 2009)) (internal brackets omitted)). The burdens that typically

attend disqualification will be magnified in this action, in which discovery has been and will

continue to be unusually complex for a private, non-commercial dispute.

       Second, BSF and Cooper & Kirk have both represented Plaintiff in this action pro bono.

Moss Decl. ¶¶ 8–9. Even if this were a simple tort case, it would be difficult for Plaintiff to find

new pro bono counsel; the burdens of this complex litigation dim her prospects further. Indeed,

given the attacks launched by Defendant against virtually every attorney who has represented

Plaintiff since she accused Defendant, it may well be difficult for her to retain new counsel on any

economic terms. See Chem. Bank v. Affiliated FM Ins. Co., No. 87 CIV. 0150 (VLB), 1994 WL

141951, at *14 (S.D.N.Y. Apr. 20, 1994) (“[C]ourts must deter motions ‘born of little more than

hardball litigation strategy sessions and advanced where there is no threat of actual prejudice.’ ”




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(quoting Hartford Acc. & Indem. Co. v. RJR Nabisco, Inc., 721 F. Supp. 534, 541 (S.D.N.Y.

1989)).

          Third, even if Plaintiff were able to find replacement counsel, familiarizing counsel with

Plaintiff’s claims without conferring on them at least some of the advantage of which Defendant

complains would be next to impossible. For example, Plaintiff and her hypothetical future counsel

would have to develop a mechanism for counsel to review Plaintiff’s responsive, privileged email

communications with her Maxwell counsel without gaining knowledge of protected material that

is out of bounds in this case. As another example, Plaintiff—without the benefit of advice of

counsel—would have to determine what she is free to share from her own records and/or

recollection. This would require a lawyerly comprehension of the scope of the protective order, a

disciplined inventory of what has been unsealed, and a superhuman recall of the source of her

knowledge of facts relating to this action.

          B. The “Unfair Advantage” About Which Defendant Complains Is Illusory.

          Defendant complains that, as a result of the Court’s orders, he faces “trial by ambush.”

Mem. in Supp. at 1. Defendant’s fear is unfounded. Plaintiff must disclose all material on which

she intends to rely at trial or in other proceedings in this case. And to the extent she has in her

possession “materials . . . which may lead to admissible evidence” that she may not disclose to

him due to the Maxwell Protective Order, id.—a point she does not concede—she may not use

those materials in this case absent leave of this Court. Letter from Charles J. Cooper to the Hon.

Loretta A. Preska, 2, n.2 Doc. 148 (July 7, 2020) (explaining that Cooper & Kirk has “refrained

from using confidential material” and “announced our intention to obtain confidential material

anew in discovery”).

          According to Defendant, even if Cooper & Kirk does not use confidential Maxwell

materials (aside from all those Defendant already possesses) as exhibits, does not file them with
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the Court, and does not rely on them as the basis of any factual allegations, Cooper & Kirk might

nevertheless “use” those materials because it cannot “unlearn” what is has learned from the

Maxwell materials. Mem. in Supp. at 11. “Mere speculation” is no ground for disqualification.

Muniz v. Re Spec Corp., 230 F. Supp. 3d 147, 152 (S.D.N.Y. 2017) (cleaned up).

       Defendant’s “instructive” case from an intermediate state court instructs only by contrast.

Mem. in Supp. at 11. In Matter of Beiny, 129 A.D.2d 126, 517 N.Y.S.2d 474 (N.Y. App. Div., 1st

Dept. 1987), an attorney at Sullivan & Cromwell obtained under false pretenses another law firm’s

files from over ten years of representing a family involved in a trust-accounting suit. Id. at 128–

29. “[G]iven the blatant abuse with which we are here confronted, involving willful disregard of

procedural rules, deceit, and the covert acquisition of otherwise unobtainable privileged material,”

the court concluded “that Sullivan & Cromwell must be disqualified.” Id. at 141. Moreover, unlike

in this case, privileged material had already been “used extensively to surprise [the Trustee] during

her deposition,” id. at 129, and the documents contained directly relevant information, id. at 142.

Similarly, in Errant Gene Therapeutics, LLC v. Sloan-Kettering Institute for Cancer Research,

further use was unavoidable because the attorney had already “used protected information to file

suit in New York Supreme Court and disclosed protected information in its publicly filed state

complaint.” No. 15-CV-2044 (AJN) (RLE), 2017 WL 2418742, at *5 (S.D.N.Y. June 5, 2017)

(cleaned up).

       Ullrich v. Hearst Corporation takes a broader view of what it means to “use” information,

but it too is manifestly distinguishable. In Ullrich, the plaintiff’s attorney had “nearly 20 years” of

experience representing the defendant in “very closely related” matters and thus had “extensive

access to confidential information” that was “necessarily pertinent to the litigation” and could not

have been obtained without the pre-existing attorney-client relationship. 809 F. Supp. 229, 234–



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35 (S.D.N.Y. 1992). Ullrich represents a quintessential case for disqualification because the ethical

rule at issue in that case “is not designed merely to prevent the disclosure of confidences by the

lawyer,” but rather “concerns itself as much with the lawyer’s use of confidential information in a

manner adverse to the interests of the former client that trusted the lawyer with its confidences.”

Id. at 235. By contrast, Cooper & Kirk owes no duty to Defendant (or to anyone) that would be

breached by Cooper & Kirk “operating with knowledge” that Defendant lacks, Mem. in Supp. at

11, especially when this Court has already concluded that the information in question is only of

limited relevance to this action.

       Defendant’s argument is also flawed as a factual matter. Even had it not received Maxwell

materials, Cooper & Kirk could have obtained the strategic benefits Defendant describes (e.g.,

knowing what to ask for in discovery, which witnesses to seek to depose, and what questions to

ask them) through perfectly legitimate consultations with Plaintiff and her previous counsel, BSF.

Defendant has obtained and may continue to receive a similar benefit from his extensive

consultations with Maxwell’s attorneys (which were extensive enough for him to assert, albeit

erroneously, that he and Maxwell had agreed to coordinate their defenses to Plaintiff’s accusations,

Moss Decl. ¶ 4).

       Indeed, Defendant would have enjoyed a similar (perhaps greater) tactical advantage had

he not disregarded the Maxwell Protective Order in his document productions. Defendant had

access to a large volume of relevant protected material from Maxwell that was not in Cooper &

Kirk’s possession until Defendant produced it to Plaintiff in discovery. Moss Decl. Ex. B; see also

Mem. in Supp. at 14 (noting that “virtually everything” from Maxwell in Defendant’s possession

that has not yet been unsealed “should be among the materials he is entitled to receive under the

Court’s most recent order . . . because they mention him”). Defendant’s productions may have



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eliminated his advantage, but his violation of the Maxwell Protective Order—which he signed—

cannot support disqualifying Cooper & Kirk.

       Finally, if the Court concludes that Cooper & Kirk must be disqualified, Defendant’s

chosen counsel, Todd & Weld, must likewise be disqualified. As just noted, Defendant, through

counsel at Todd & Weld, produced a large volume of material that is subject to the protective order

in Maxwell, yet Todd & Weld is not entitled under the Court’s interpretation of the Maxwell

protective order to have access to those materials. It is no answer to suggest that the fact that

Defendant produced some of his Maxwell materials to Plaintiff means that Todd & Weld will not

have the supposedly unfair advantage Defendant claims that Cooper & Kirk enjoys because the

Court’s orders prohibit Plaintiff’s new counsel from viewing any protected Maxwell materials

under the Court’s orders. And in any case, it would be unjust to deprive Plaintiff of her chosen

counsel simply because she scrupulously sought to comply with the Court’s orders by refusing to

produce protected Maxwell materials without leave of Court while Defendant is permitted to keep

his chosen counsel notwithstanding that he violated the Maxwell protective order by producing

protected materials without leave of Court.

       C. Defendant’s Fairness Concerns May Be Addressed by Other Means.

       The Court has already granted the most effective remedy for the fairness concerns that

Defendant raises, by ordering Plaintiff to disclose most materials mentioning Dershowitz. This

order covers the vast majority of the “circumstantial” material referenced in Defendant’s motion.

Mem. in Supp. at 9–10. Most of the remaining items on his list were part of Plaintiff’s production

in Maxwell and have thus already been produced to Defendant. Moss Decl. ¶ 7.

       Materials outside the scope of the Court’s order are of dubious relevance but could still be

the subject of further discovery requests by Defendant. For example, if Defendant chooses to



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depose a deponent from Maxwell, he could return to the Court with a narrow request to obtain a

complete copy of that individual’s deposition transcript.

       The real issue here—as Defendant acknowledges—is that Defendant disagrees with this

Court’s determination about what is relevant to the claims and counterclaims and defenses in this

action. The Court has repeatedly advised the parties that it considers the central issues in this

litigation to be whether Defendant abused Plaintiff and whether Plaintiff engaged in a conspiracy

with her attorneys to falsely accuse Defendant of abusing her in order to extort money from

wealthy Epstein associates. See, e.g., Tr. 2:20–24, Doc. 97 (Dec. 2, 2019) (“[W]e’re looking as to

whether Dershowitz and Giuffre had relations and we have the additional allegations in the

complaint with respect to supposed extortion schemes by Giuffre and her lawyers.”); id. 9:19–22

(“It has to do with whether they, in fact, had relations and who was lying or is lying and, secondly,

the conspiracy-to-extort theory”); Mem. & Order at 9, Doc. 144 (“The Court is thus skeptical that

judicial economy would be served by handing Mr. Dershowitz a mountain of discovery from a

separate case that may not even be relevant to his defense or to his counterclaims against Ms.

Giuffre.”). Defendant nevertheless argues that the veracity of Plaintiff’s allegations against other

men are relevant because Plaintiff has sued Defendant for saying that she is a “serial liar” and has

a “documented history of lying about prominent people.” Mem. in Supp. at 8–9 (quoting Am.

Compl. ¶¶ 17(p) & (n)(i)). Plaintiff disagrees with Defendant’s position on relevance, but in any

event, Defendant retains full access to ordinary discovery tools to identify and obtain evidence

bearing on the issues he believes are relevant. That Defendant fears he will be thwarted by the

argument that the evidence is too far afield of the issues in this case does not support disqualifying

Plaintiff’s counsel.




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                                        CONCLUSION

       For the foregoing reasons, Plaintiff respectfully requests that the Court deny Defendant’s

motion to disqualify her counsel, Cooper & Kirk.



       Date: December 4, 2020                       Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that on December 4, 2020, I electronically filed the foregoing response

with the Clerk of the Court using the CM/ECF system, and I hereby certify that the foregoing

was served upon all counsel of record using the CM/ECF system.



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